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   7
   8                             UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
  10
  11 UNITED STATES ex rel. CHI KWAN               Case No. 2:21-cv-04763-RGK-KS
       CHAN,
  12                                              FIRST AMENDED FALSE CLAIMS
                    Plaintiff,                    ACT COMPLAINT
  13
             v.
  14
       RGE MOTOR DIRECT INC. d/b/a
  15 ONEBIGOUTLET, and PHOENIX
       TOOLS, INC.,
  16
  17                Defendants.

  18
                                          Introduction
  19
             1.     Chi Kwan Chan (the “Relator”) brings this action as a qui tam relator
  20
       on behalf of the United States against RGE Motor Direct Inc. d/b/a OneBigOutlet
  21
       (“OBO”) and Phoenix Tools, Inc. (“Phoenix”), pursuant to the qui tam provisions of
  22
       the False Claims Act, 31 U.S.C. § 3729-33, to recover damages, penalties,
  23
       attorneys’ fees and costs, and other relief. Relator alleges that OBO and Phoenix,
  24
       two California-based importers, conspired with their Hong Kong affiliate, Royal
  25
       Sourcing Limited a/k/a Jin Zhen Fu Management Consultant Limited (“Royal
  26
       Sourcing”), to evade tariffs on Chinese merchandise that the United States began to
  27
       impose in 2018.
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   1         2.    To offset the increased tariff obligations that OBO and Phoenix began
   2 to face in 2018 on Chinese merchandise they imported through Royal Sourcing,
   3 OBO, Phoenix, and Royal Sourcing came up with a simple scheme: they shifted
   4 much of the real price of the imported merchandise to bogus invoices for “testing”
   5 or “certification” of the merchandise. Thus, when Royal Sourcing purchased
   6 merchandise from a Chinese vendor for shipment to OBO or Phoenix and the
   7 merchandise was subject to a new tariff, Royal Sourcing often either created, or
   8 arranged to create with the vendor, three different invoices: (1) a “pro forma”
   9 invoice that showed the real price Royal Sourcing and OBO or Phoenix paid for the
  10 merchandise; (2) a fake “commercial invoice” with a reduced merchandise price
  11 that, in most cases, more than offset the additional duty; and (3) a fake invoice
  12 reflecting the supposed testing or certification fee, in an amount that consistently
  13 matched the difference between the real pro forma invoice price and the fake
  14 commercial invoice price. Then, OBO or Phoenix would pay the tariff based only on
  15 the fake commercial invoice price. As time went on and OBO, Phoenix, and Royal
  16 Sourcing realized how much money they could save on tariff payments by creating
  17 fake commercial invoices, the companies shifted ever larger portions of the real
  18 prices to the bogus testing or certification prices, so that the reduction in the
  19 importers’ duty obligations far exceeded the costs OBO and Phoenix incurred from
  20 the new tariffs that the United States imposed.
  21         3.    On information and belief, defendants evaded millions of dollars in
  22 tariffs through this fraudulent scheme. In January 2021, when Royal Sourcing
  23 terminated Relator’s employment, the fraudulent scheme was ongoing.
  24         4.    Prior to the filing of Relator’s original Complaint, Relator made
  25 substantive disclosures to the government of facts and evidence underlying the
  26 allegations in the original Complaint and this First Amended Complaint, in
  27 accordance with the requirements of the False Claims Act, 31 U.S.C. § 3730(b)(2).
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   1        5.     Relator is an original source of the information underlying his original
   2 Complaint and this First Amended Complaint, as well as the information he
   3 provided to the United States prior to the filing of his original Complaint. See 31
   4 U.S.C. § 3730(e)(4)(B). To Relator’s knowledge, the information underlying the
   5 allegations and transactions in the original Complaint was not publicly disclosed
   6 prior to the unsealing of this matter.
   7                                Jurisdiction and Venue
   8        6.     This action arises under the False Claims Act, as amended, 31 U.S.C.
   9 §§ 3729-33. This Court has jurisdiction over this action under 31 U.S.C. § 3732 and
  10 28 U.S.C. §§ 1331 and 1345.
  11        7.     Venue is proper in the Central District of California pursuant to 28
  12 U.S.C. § 1391(b) and 31 U.S.C. § 3732(a).
  13        8.     This Court may exercise personal jurisdiction over OBO and Phoenix
  14 pursuant to 31 U.S.C. § 3732(a) and because they transact business in this District.
  15                                          The Parties
  16        9.     Relator Chan is a resident of Hong Kong. From March 2018 to January
  17 2021, he was the Sourcing Manager for Royal Sourcing. Although he was employed
  18 by Royal Sourcing, he used an OBO e-mail address, chris.c@obo-usa.com.
  19 Relator’s responsibilities at Royal Sourcing included sourcing product in China,
  20 monitoring production status, quality assurance, and order processing.
  21        10.    Defendant RGE Motor Direct Inc. d/b/a OneBigOutlet is a California
  22 corporation with a principal place of business at 19301 E. Walnut Dr. N., City of
  23 Industry, California 91748. OBO also has a warehouse at 631 Omni Industrial
  24 Boulevard, Summerville, South Carolina 29486, and it formerly operated a
  25 warehouse at 1570 Perry Road, Plainfield, Indiana 46168. Since at least 2017, OBO
  26 has operated as a consignee for imports from China that Royal Sourcing arranged.
  27        11.    Defendant Phoenix Tools, Inc., is a California corporation with a
  28 registered place of business at 19223 Colima Road, #8, Rowland Heights, California
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   1 91748. On information and belief, Phoenix actually operates out of OBO’s
   2 warehouse location in the City of Industry. Since at least 2019, Phoenix has
   3 operated as a consignee for imports from China that Royal Sourcing arranged.
   4                               Regulatory Background
   5 A.     Section 301 Duties on Products from China
   6        12.    Beginning in 2018, pursuant to Section 301 of the Trade Act of 1974,
   7 19 U.S.C. § 2411, the Office of the United States Trade Representative (“USTR”)
   8 imposed additional duties on four “lists” of products from China. Each list identifies
   9 products by their eight-digit Harmonized Tariff Schedule (“HTS”) code in the
  10 Harmonized Tariff Schedule of the United States.
  11        13.    List 1. On June 20, 2018, USTR announced in the Federal Register
  12 that, effective July 6, 2018, an additional 25 percent duty would apply to products
  13 from China on so-called “List 1.” See USTR, Notice of Action and Request for
  14 Public Comments Concerning Proposed Determination of Action Pursuant to
  15 Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer,
  16 Intellectual Property, and Innovation, 83 Fed. Reg. 28,710, 28,711 (June 20, 2018).
  17        14.    List 2. On August 16, 2018, USTR announced in the Federal Register
  18 that, effective August 23, 2018, an additional 25 percent duty would apply to
  19 products from China on so-called “List 2.” See USTR, Notice of Action Pursuant to
  20 Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer,
  21 Intellectual Property, and Innovation, 83 Fed. Reg. 40,823, 40,824 (Aug. 16, 2018).
  22        15.    List 3. On September 21, 2018, USTR announced a two-phase
  23 implementation of duties on products from China on so-called “List 3.” See USTR,
  24 Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices
  25 Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg.
  26 47974 (Sept. 21, 2018). Under the initial phase, beginning on September 24, 2018,
  27 the duty on List 3 products was 10 percent. See id. at 47975. Under the second
  28 phase, beginning on May 10, 2019, the duty on List 3 products increased to 25
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   1 percent. See USTR, Notice of Modification of Section 301 Action: China’s Acts,
   2 Policies, and Practices Related to Technology Transfer, Intellectual Property, and
   3 Innovation, 84 Fed. Reg. 20459 (May 9, 2019). In a notice on May 31, 2019, USTR
   4 clarified that “[c]overed products that were exported from China to the United States
   5 prior to May 10, 2019 will remain subject to an additional 10 percent tariff if they
   6 enter into the U.S. before June 15, 2019.” USTR, Notice Regarding Application of
   7 Section 301 Action (May 31, 2019).
   8        16.    List 3 Temporary Exclusions. On September 20, 2019, USTR
   9 announced in the Federal Register that products within certain HTS codes would be
  10 temporarily excluded from the List 3 duties. See USTR, Notice of Product
  11 Exclusions, Amendment to the Exclusion Process, and Technical Amendments:
  12 China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual
  13 Property, and Innovation, 84 Fed. Reg. 49591 (Sept. 20, 2019). These exclusions
  14 were retroactive to September 24, 2018, and extended through August 7, 2020. See
  15 id. at 49592. On August 11, 2020, USTR extended the exclusions for products
  16 within a subset of these HTS codes until December 31, 2020. See USTR, Notice of
  17 Product Exclusion Extensions: China’s Acts, Policies, and Practices Related to
  18 Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg. 48600
  19 (Aug. 11, 2020).
  20        17.    List 4A. On August 30, 2019, USTR announced in the Federal Register
  21 that, effective September 1, 2019, an additional 15 percent duty would apply to
  22 products on Annex A of List 4 (“List 4A”). See USTR, Notice of Modification of
  23 Section 301 Action: China’s Acts, Policies, and Practices Related to Technology
  24 Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 45821 (Aug. 30,
  25 2019). On January 22, 2020, USTR announced that, effective February 14, 2020, the
  26 duty on List 4A products would decrease to 7.5 percent. See USTR, Notice of
  27 Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to
  28
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   1 Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg. 3741 (Jan.
   2 22, 2020).
   3         18.   List 4A Temporary Exclusions. On October 24, 2019, USTR
   4 announced in the Federal Register that it would accept requests for tariff exclusions
   5 for products within HTS codes on List 4A. See USTR, Procedures for Requests To
   6 Exclude Particular Products From the August 2019 Action Pursuant to Section 301:
   7 China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual
   8 Property, and Innovation, 84 Fed. Reg. 57144 (Oct. 24, 2019). USTR subsequently
   9 issued eight notices of product exclusions under this action. See USTR, Notice of
  10 Product Exclusion Extensions: China’s Acts, Policies, and Practices Related to
  11 Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg. 54616
  12 (Sept. 2, 2020). These exclusions initially were set to expire on September 1, 2020,
  13 but USTR extended certain of them through December 31, 2020. See id. at 54617.
  14         19.   Current Exclusions. On March 28, 2022, USTR announced in the
  15 Federal Register that it was reinstating exclusions for certain products within HTS
  16 codes on Lists 3 and 4A for the period from October 12, 2021, through December
  17 31, 2022. See USTR, Notice of Reinstatement of Certain Exclusions: China’s Acts,
  18 Policies, and Practices Related to Technology Transfer, Intellectual Property, and
  19 Innovation, 87 Fed. Reg. 17380 (Mar. 28, 2022).
  20 B.      Calculation of Dutiable Amount
  21         20.   Section 402 of the Tariff Act of 1930, 19 U.S.C. § 1401a, directs that
  22 the dutiable amount of merchandise imported into the United States shall be
  23 calculated, where possible, on the “price actually paid or payable for the
  24 merchandise when sold for exportation to the United States, plus . . . the value . . . of
  25 any assist.” 19 U.S.C. § 1401a(b)(1)(C). The statute further explains that the term
  26 “assist” includes “[e]ngineering, development, artwork, design work, and plans and
  27 sketches that are undertaken elsewhere than in the United States and are necessary
  28 for the production of the imported merchandise.” 19 U.S.C. § 1401a(h)(1)(A)(iv).
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   1 C.      Documentation Requirements for Importation of Goods into the United
             States
   2
             21.    CBP regulations provide that “the entry documentation required to
   3
       secure the release of merchandise” arriving at a United States port must include,
   4
       among other things, “[a] commercial invoice” and a “packing list.” 19 C.F.R.
   5
       § 142.3; see also 19 C.F.R. § 141.81 (“A commercial invoice shall be presented for
   6
       each shipment of merchandise at the time the entry summary is filed. . . .”). The
   7
       regulations further specify that a commercial invoice must set forth “[t]he purchase
   8
       price of each item in the currency of the purchase.” 19 C.F.R. § 141.86(a)(5); see
   9
       also 19 C.F.R. § 141.83(c) (specifying that “[t]he commercial invoice shall be
  10
       prepared in the manner customary in the trade [and] contain the information
  11
       required by §§141.86 through 141.89”).
  12
       D.    The False Claims Act
  13
             22.    The False Claims Act provides, in pertinent part, that any person who:
  14
             (C) conspires to commit a violation of subparagraph . . . (G); . . . or
  15
             (G) knowingly makes, uses, or causes to be made or used, a false record or
  16         statement material to an obligation to pay or transmit money or property to
             the Government, or knowingly conceals or knowingly and improperly avoids
  17         or decreases an obligation to pay or transmit money or property to the
             Government,
  18
             is liable to the United States Government for a civil penalty of not less than
  19         $5,000 and not more than $10,000, as adjusted by the Federal Civil Penalties
             Inflation Adjustment Act of 1990 (28 U.S.C. 2461 note; Public Law 104–
  20         410 [1]), plus 3 times the amount of damages which the Government sustains
             because of the act of that person.
  21
       31 U.S.C. § 3729(a)(1).
  22
             23.    For purposes of the False Claims Act, “the terms ‘knowing’ and
  23
       ‘knowingly’ mean that a person, with respect to information[,] (i) has actual
  24
       knowledge of the information; (ii) acts in deliberate ignorance of the truth or falsity
  25
       of the information; or (iii) acts in reckless disregard of the truth or falsity of the
  26
       information.” 31 U.S.C. § 3729(b)(1)(A). No proof of specific intent to defraud is
  27
       required. 31 U.S.C. § 3729(b)(1)(B).
  28
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   1         24.   The False Claims Act defines the term “obligation,” in pertinent part, as
   2 “an established duty, whether or not fixed, arising from an express or implied
   3 contractual, grantor-grantee, or licensor-licensee relationship, from a fee-based or
   4 similar relationship, from statute or regulation.”
   5         25.   For purposes of the False Claims Act, the term “material” means
   6 “having a natural tendency to influence, or be capable of influencing, the payment
   7 or receipt of money or property.” 31 U.S.C. § 3729(b)(4).
   8                                  Factual Allegations
   9 A.      The Importation Practices of OBO, Phoenix, and Royal Sourcing Before
             the United States Began to Impose New Tariffs in 2018
  10
             26.   Before the United States started imposing additional tariffs on Chinese
  11
       merchandise in 2018, Royal Sourcing and OBO followed a regular process to export
  12
       merchandise to the United States. This process included the following steps:
  13
             a.    Royal Sourcing would issue a purchase order to a Chinese vendor for a
  14
                   specified quantity of goods at a specified price.
  15
             b.    The vendor would create a pro forma invoice showing the agreed price.
  16
             c.    Some vendors would require a signature and stamp from Royal
  17
                   Sourcing on the pro forma invoice.
  18
             d.    The vendor would proceed with manufacturing the goods ordered.
  19
             e.    The vendor would arrange transport of the goods to a port in China
  20
                   from which the goods would be shipped to the United States.
  21
             f.    Before the goods arrived in the United States, Royal Sourcing would
  22
                   request the bill of lading and a final commercial invoice from the
  23
                   vendor. The commercial invoice typically would match the original
  24
                   terms of the pro forma invoice but would contain additional detail
  25
                   concerning the shipping and might reflect small changes to the
  26
                   quantities and prices.
  27
  28
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   1         g.     Royal Sourcing’s finance manager would forward the final commercial
   2                invoice to OBO for payment.
   3         h.     Through Royal Sourcing, OBO would pay the vendor the amount on
   4                the commercial invoice. Depending on the vendor, OBO would pay
   5                either before the goods were released to OBO or, if the vendor were
   6                willing to extend credit terms, within the agreed time period.
   7         i.     On information and belief, OBO then would present the final
   8                commercial invoice to CBP and pay customs duties accordingly.
   9 B.      The Fraudulent Importation Practices of OBO, Phoenix, and Royal
             Sourcing After the United States Began to Impose New Tariffs in 2018
  10
             27.    For any merchandise that OBO (or, beginning in 2019, Phoenix)
  11
       imported after the new tariffs began to take effect in 2018, Royal Sourcing would
  12
       attempt to convince its vendors to provide discounts to offset the new tariffs. If a
  13
       particular vendor was not willing to reduce the price sufficiently to offset the tariff,
  14
       Royal Sourcing and OBO or Phoenix would follow the process described above
  15
       through the time of shipment of the goods to the United States (step e, above), but
  16
       then the process would change, as follows:
  17
             f.     Before the goods arrived in the United States, Royal Sourcing would
  18
                    request the bill of lading from the vendor and, depending on the
  19
                    relationship with the vendor, Royal Sourcing either would request that
  20
                    the vendor issue a new fake commercial invoice at a reduced price, or
  21
                    Royal Sourcing itself would create a new fake commercial invoice at a
  22
                    reduced price. Royal Sourcing referred to this step as “reinvoicing.”
  23
             g.     Royal Sourcing’s finance manager would forward to OBO or Phoenix a
  24
                    pro forma invoice reflecting the actual cost of the goods, a fake
  25
                    commercial invoice for the goods, and, in many cases, a fake invoice
  26
                    for a testing or certification fee in the amount of the difference between
  27
                    the pro forma invoice and the fake commercial invoice for the goods.
  28
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    1        h.     Through Royal Sourcing, OBO or Phoenix would pay the vendor the
    2               amount on the pro forma invoice. Depending on the vendor, OBO or
    3               Phoenix would pay either before the goods were released to OBO or
    4               Phoenix, or, if the vendor were willing to extend credit terms, within
    5               the agreed time period.
    6        i.     On information and belief, OBO or Phoenix then would present the
    7               fake commercial invoice to CPB and pay customs duties accordingly.
    8        28.    The testing or certification fees were bogus because, with very limited
    9 exceptions, no such testing or certification occurred.
   10        29.    The defendants documented their tariff evasion in a variety of ways,
   11 including on a purchase order spreadsheet that they updated regularly. A typical
   12 order involved multiple products, each with its own part number. The spreadsheets
   13 contained separate lines for each part number that was in an order. Each line
   14 showed, among other things, the date of the order, the vendor, the part number of
   15 the product ordered, the quantity of the product ordered, the real unit price of the
   16 product, the fraudulently adjusted unit price of each product (which was labeled the
   17 “Re-invoicing” price), the aggregate real price for the quantity of each item ordered,
   18 the total real price of all the products in the order (which was labeled “Total
   19 Amount”), the number of days of credit agreed by the vendor, the estimated
   20 departure date from China, and the estimated arrival date in the United States.
   21                     Example of Defendants’ Conduct Pre-Tariff
   22        30.    Pre-Tariff Purchase Order 8885 (including part number 014-HG-
   23 14085-WH). On May 19, 2018, Royal Sourcing issued purchase order 8885 for
   24 certain merchandise from a Chinese vendor, Anji Hengchuan Furniture Factory Co.,
   25 Ltd. The order included 25 bar chairs bearing part number 014-HG-14085-WH at a
   26 unit price of $53.96. The order shipped from China on or about July 14, 2018, for
   27 delivery through the Port of Los Angeles to a Wayfair warehouse in Perris,
   28 California, with OBO as the consignee. On information and belief, the shipment
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    1 arrived in Los Angeles in late July 2018. The bar chairs fell within HTS code
    2 9401.71.00 (“Other upholstered seats with metal frames”), which was on List 3. See
    3 83 Fed. Reg. at 48002, 48191. Since the first additional tariffs on List 3 items were
    4 not to take effect until September 24, 2018, Royal Sourcing and OBO knew this
    5 shipment would not be subject to an additional tariff. On September 16, 2018, the
    6 Royal Sourcing finance manager, Yammie Leung, sent two e-mails to Relator and
    7 Derek Poon, the CEO of Royal Sourcing and CFO of OBO, concerning purchase
    8 order 8885. With one of the e-mails, Ms. Leung attached a commercial invoice from
    9 Anji Hengchuan Furniture Factory Co., Ltd. to Royal Sourcing; this invoice again
   10 showed the unit price of the bar chairs to be $53.96. With the other e-mail,
   11 Ms. Leung attached an invoice from Royal Sourcing to OBO; this invoice showed
   12 the unit price of the bar chairs to be $59.36, which was 10 percent higher than the
   13 invoice amount from the vendor. Before the additional tariffs were to begin taking
   14 effect, Royal Sourcing often added such mark-ups to show that it had independent
   15 revenues, in contemplation of going public and obtaining a listing on the Hong
   16 Kong Stock Exchange. On information and belief, OBO presented the real invoice
   17 from Anji Hengchuan Furniture Factory Co., Ltd., to CBP and paid customs duties
   18 accordingly.
   19                 Examples of Defendants’ Subsequent Tariff Evasion
   20        31.     Purchase Order 9195. On June 27, 2018, Royal Sourcing issued
   21 purchase order 9195 for 600 barn doors from a Chinese vendor, Hangzhou Metek
   22 Co., Ltd. The order shipped from China on or about October 22, 2018, and arrived
   23 in Los Angeles on or about November 5, 2018, with OBO as the consignee and 60-
   24 day payment terms. The barn doors fell within HTS code 4418.20.8060 (“Doors of
   25 wood, other than French doors”), which was on List 3, and to which no exclusion
   26 ever applied. See 83 Fed. Reg. at 48094. Consequently, the shipment was subject to
   27 the additional 10 percent tariff that took effect on September 24, 2018. See 83 Fed.
   28 Reg. 47974. Because the doors were subject to the new tariff, Royal Sourcing was
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    1 able to negotiate a five percent discount from the vendor. Still, Royal Sourcing
    2 fabricated documents to make it appear that the price was even lower. On December
    3 18, 2018, the Royal Sourcing finance manager, Ms. Leung, sent an e-mail to Relator
    4 and Mr. Poon, the CEO of Royal Sourcing and CFO of OBO. The attachments to the
    5 e-mail included an Excel file with five tabs: “original PI,” “PI,” “80% CI,” “CI FOR
    6 EXTRA COST,” and “PACKING LIST.” The “original PI” tab showed a pro forma
    7 invoice with a total price of $47,880.00. The “PI” tab showed a revised pro forma
    8 invoice with a total price of $45,480.00, reflecting the five percent discount Royal
    9 Sourcing had negotiated with the vendor. The “80% CI” tab showed a fake
   10 commercial invoice with a total price of $38,304, approximately 15.8 percent below
   11 the revised pro forma price Royal Sourcing had negotiated. The “CI FOR EXTRA
   12 COST” tab showed a fake commercial invoice for a “Testing & Certification fee” of
   13 $7,176.00,” which was the difference between the revised pro forma price and the
   14 fake commercial invoice price. In fact, there was no testing or certification done on
   15 the barn doors in purchase order 9195, and the amount of the testing and
   16 certification fee was a ruse by Royal Sourcing to avoid paying the duty owed on the
   17 goods OBO imported pursuant to that purchase order. On information and belief,
   18 OBO presented the fake commercial invoice for the barn doors to CBP and
   19 underpaid customs duties accordingly.
   20        32.    Purchase Order 9510. On September 20, 2018, Royal Sourcing issued
   21 purchase order 9510 for specific quantities of 30-gallon and 32-gallon gas caddies
   22 from a Chinese vendor, Yongkang Jinding Mechanical Tools Co., Ltd. (“YJM”).
   23 The real “Total Amount” of the order was $29,426.48, with 60-day credit terms. The
   24 order shipped from China on or about October 16, 2018, and arrived in Los Angeles
   25 on or about October 29, 2018, with OBO as the consignee. The gas caddies fell
   26 within HTS code 7310.10.0050 (“Iron/steel, tanks, casks, drums, cans, boxes &
   27 simi. cont. for any material (o/than compress./liq.gas), w/cap. of 50+ l but n/o 300
   28 l”), which was on List 3, and to which no exclusion ever applied. See 83 Fed. Reg.
                                                -12-
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    1 at 48155, 48188. Consequently, the shipment was subject to the additional 10
    2 percent tariff that took effect on September 24, 2018. To offset this tariff, Royal
    3 Sourcing fraudulently reduced the unit price of each item in the shipment by 20
    4 percent. First, however, the Royal Sourcing finance manager, Ms. Leung, sent an e-
    5 mail dated October 18, 2018, to Relator and Mr. Poon, the CEO of Royal Sourcing
    6 and CFO of OBO. In this e-mail, Ms. Leung asked Relator to “Please check if YJM
    7 is under tariff,” and she attached an Excel file with a real commercial invoice from
    8 YJM and a packing list for the shipment. The real commercial invoice showed the
    9 total price of the merchandise in purchase order 9510 to be $29,426.48. On
   10 December 11, 2018, after Relator confirmed that the YJM gas caddies were subject
   11 to the new 10 percent tariff, Ms. Leung sent Relator and Mr. Poon a second e-mail
   12 with an Excel file containing a new set of invoices for purchase order 9510. This
   13 Excel file included an “original PI” tab with a “PROFORMA INVOICE/SALES
   14 CONFIRMATION” showing the real price of $29,426.48 (but with the mistaken
   15 date of “SEP.19,2019”), a “PI” tab with another “PROFORMA INVOICE” showing
   16 the same price (and dated October 19, 2018), an “80% CI” tab with a fake
   17 “COMMERCIAL INVOICE” showing a reduced total price of $23,541.18, and a
   18 “CI FOR EXTRA COST” tab with a second fake “COMMERICAL INVOICE” for
   19 a supposed “Certification Fee” of $5,885.30, which was the difference between the
   20 real total price and the fake total price of the gas caddies. In fact, there was no
   21 certification done on the gas caddies in purchase order 9510, and the amount of the
   22 certification fee was a ruse by Royal Sourcing to avoid paying the duty owed on the
   23 goods OBO imported pursuant to that purchase order. On information and belief,
   24 OBO presented the fake commercial invoice for the gas caddies to CBP and
   25 underpaid customs duties accordingly.
   26         33.   Purchase Order 9539. On September 25, 2018, Royal Sourcing issued
   27 purchase order 9539 for specific quantities of 13 models of office chairs from a
   28 Chinese vendor, Anji Hengchuan Furniture Factory. The “Total Amount” of the
                                                 -13-
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    1 order was $14,612.60 with 60-day credit terms. The order shipped from China on or
    2 about November 29, 2018. The consignee was OBO, but the order was delivered
    3 through the Port of New York to Wayfair in Cranbury, New Jersey, on or about
    4 December 26, 2018. The office chairs fell within HTS code 9401.30.8030 (“Seats
    5 . . . swivel w/ variable height adjustment & other than w/ wooden frame”), which
    6 was on List 3, and to which no exclusion ever applied. Consequently, the shipment
    7 was subject to the additional 10 percent tariff that took effect on September 24,
    8 2018. To offset this tariff, Royal Sourcing fraudulently reduced the unit price of
    9 each item in the shipment by 15 percent. Thus, on January 28, 2019, the Royal
   10 Sourcing finance manager, Ms. Leung, sent an e-mail to Relator and Mr. Poon, the
   11 CEO of Royal Sourcing and CFO of OBO, attaching, among other items, an Excel
   12 file with a pro forma invoice for the office chairs, a purported commercial invoice
   13 for the office chairs, and a purported commercial invoice for a “[t]esting fee,” as
   14 well as the bill of lading for the shipment. The pro forma invoice stated, accurately,
   15 that the total price for the office chairs was $14,612.60. By contrast, the purported
   16 commercial invoice falsely stated that the total price for the office chairs was
   17 $12,422.36 (i.e., the “re-invoicing” price that OBO used to fraudulently reduce its
   18 duty obligation for the recliners under the new tariffs). Meanwhile, the testing fee
   19 invoice was in the amount of $2,190.24, which was the difference between the total
   20 actual price of the order and the total fake price of the order. In fact, there was no
   21 testing done on the products in purchase order 9539, and the amount of the testing
   22 fee was a ruse by Royal Souring to avoid paying the full duty owed on the goods
   23 OBO imported pursuant to that purchase order. On information and belief, OBO
   24 presented the fake commercial invoice for the office chairs to CBP and underpaid
   25 customs duties accordingly.
   26         34.   Purchase Order 10595. On April 30, 2019, Royal Sourcing issued
   27 purchase order 10595 for specific quantities of 15 models of wooden barn doors
   28 from a Chinese vendor, Hangzhou Meant Building Material Co., Ltd. – Metek
                                                 -14-
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    1 (“Metek”). On May 9, 2019, a Metek employee sent an e-mail to Relator and several
    2 other employees of Royal Sourcing and OBO. The e-mail attached a pro forma
    3 invoice showing the unit prices of each item in the order and a total order price of
    4 $50,473.00. The order shipped from China on or about August 29, 2019, and arrived
    5 in Los Angeles, California, on or about September 9, 2019, with Phoenix as the
    6 consignee. The doors fell within HTS code 4418.20.8060 (“Doors of wood, other
    7 than French doors”), which was on List 3, and to which no exclusion ever applied.
    8 See 83 Fed. Reg. at 48094. Consequently, the shipment was subject to the additional
    9 25 percent tariff that took effect on May 10, 2019. See 84 Fed. Reg. 20459. To
   10 offset this tariff, Royal Sourcing fraudulently reduced the unit price of each item in
   11 the shipment by an amount that ranged between 28 and 69 percent. Thus, on
   12 November 18, 2019, the Royal Sourcing finance manager, Ms. Leung, sent an e-
   13 mail to Relator and Mr. Poon, the CEO of Royal Sourcing and CFO of OBO,
   14 attaching an Excel file with tabs for a purported invoice from Royal Sourcing to
   15 Phoenix for the doors with a fake price of $21,437.72, and a purported invoice from
   16 Royal Sourcing to Phoenix for a fake testing fee of $29,686.20, for a total of
   17 $51,123.92. Meanwhile, on November 5, 2019, the Metek employee had sent
   18 Relator and other Royal Sourcing employees an e-mail asking for payment of
   19 $51,123.92 on purchase order 10595. The e-mail from the Metek employee made no
   20 mention of testing. In fact, there was no testing done on the products in purchase
   21 order 10595, and the amount of the testing fee was a ruse by Royal Sourcing to
   22 avoid paying the duty owed on the goods Phoenix imported pursuant to that
   23 purchase order. On information and belief, OBO presented the fake commercial
   24 invoice for the barn doors to CBP and underpaid customs duties accordingly.
   25        35.    Purchase Order 14248. In late 2020, toward the end of Relator’s time of
   26 employment at Royal Sourcing, he often received only summary information
   27 indicating that defendants were evading tariffs. For example, on October 13, 2020,
   28 the Royal Sourcing finance manager, Ms. Leung, sent an e-mail to Relator and
                                                -15-
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    1 Mr. Poon, the CEO of Royal Sourcing and CFO of OBO, without any attachments
    2 but with a listing of information concerning multiple purchase orders, including
    3 purchase order 13472, which was for 72 upholstered chairs. The chairs were within
    4 HTS code 9401.61.4031, which was on List 3 and was subject to an exclusion that
    5 expired on August 7, 2020, and was not subsequently reinstated. Cf. 85 Fed. Reg.
    6 48600, 48617. For purchase order 13472, Ms. Leung’s e-mail showed two invoices,
    7 invoice “HK-BEACON-20-0884 (2)” in the amount of $7,259.35, and invoice “HK-
    8 BEACON-20-0884 (2) FEE” in the amount of $7,761.65. The total of these two
    9 invoice amounts, $15.021.00, matches the real total price of the order. The order
   10 arrived at a port in South Carolina on or about September 19, 2020. On information
   11 and belief, OBO presented CBP with a fake commercial invoice for the chairs in the
   12 amount of $7,259.35 and underpaid customs duties accordingly.
   13        36.    As a further example, on November 12, 2020, the Royal Sourcing
   14 finance manager, Ms. Leung, sent an e-mail to Relator and Mr. Poon, the CEO of
   15 Royal Sourcing and CFO of OBO, without any attachments but with a listing of
   16 information concerning multiple purchase orders, including purchase order 14248,
   17 which was for 357 upholstered chairs. The chairs were also within HTS code
   18 9401.61.4031, which was on List 3 and was subject to an exclusion that expired on
   19 August 7, 2020, and was not subsequently reinstated. Cf. 85 Fed. Reg. 48600,
   20 48617. For purchase order 14248, Ms. Leung’s e-mail showed two invoices, invoice
   21 “HK-BEACON-20-1028” in the amount of $4,533.90, and invoice “HK-BEACON-
   22 20-1028 FEE” in the amount of $5,992.10. The total of these two invoice amounts,
   23 $10,526.00, matches the real total price of the order. The order arrived at a port in
   24 California on or about October 30, 2020. On information and belief, OBO presented
   25 CBP with a fake commercial invoice for the chairs in the amount of $4,533.90 and
   26 underpaid customs duties accordingly.
   27
   28
                                                -16-
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    1         37.    Thus, in late 2020, Royal Sourcing and the defendants were continuing
    2 to shift much of the price of the merchandise they imported from the real invoice
    3 prices to bogus fees on which they did not pay duty.
    4                              Count I: Reverse False Claims
                                     (31 U.S.C. § 3729(a)(1)(G))
    5
              38.    Relator repeats and realleges each allegation in each of the preceding
    6
        paragraphs as if fully set forth herein.
    7
              39.    Defendants knowingly made, used, or caused to be made or used false
    8
        records and/or statements to conceal, avoid, or decrease obligations to pay or
    9
        transmit money, in the form of customs duties, to the United States, in violation of
   10
        31 U.S.C. § 3729(a)(1)(G). Specifically, defendants knowingly made or used fake
   11
        invoices that fraudulently underrepresented the prices of merchandise they imported
   12
        into the United States from China, and defendants accordingly underpaid customs
   13
        duties on that merchandise.
   14
              40.    By virtue of the false or fraudulent records and/or statements
   15
        defendants made or used, the United States has suffered actual damages and is
   16
        entitled to recover treble damages plus a civil monetary penalty for each instance in
   17
        which defendants made or used a false record or statement to conceal, avoid, or
   18
        decrease an obligation to pay or transmit money to the United States.
   19
                                        Count II: Conspiracy
   20                                 (31 U.S.C. § 3729(a)(1)(C))
   21         41.    Relator repeats and realleges each allegation in each of the preceding
   22 paragraphs as if fully set forth herein.
   23         42.    Defendants knowingly conspired with Royal Sourcing and their
   24 Chinese vendors to make, use, or cause to be made or used false records and/or
   25 statements to conceal, avoid, or decrease obligations to pay or transmit money to the
   26 United States, in violation of 31 U.S.C. § 3729(a)(1)(C). Specifically, defendants
   27 knowingly conspired with Royal Sourcing and their Chinese vendors to make or use
   28 fake invoices that fraudulently underrepresented the prices of merchandise
                                                   -17-
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    1 defendants imported into the United States from China, and defendants accordingly
    2 underpaid customs duties on that merchandise.
    3        43.    By virtue of the false or fraudulent records and/or statements
    4 defendants conspired with Royal Sourcing and their Chinese vendors to make or
    5 use, the United States has suffered actual damages and is entitled to recover treble
    6 damages plus a civil monetary penalty for each instance in which defendants
    7 conspired to make or use a false record or statement to conceal, avoid, or decrease
    8 an obligation to pay or transmit money to the United States.
    9                                       Prayer for Relief
   10 WHEREFORE, Relator demands and prays for the following relief:
   11        1.     On Counts I and II, that judgment be entered in favor of the United
   12               States and against the defendants, jointly and severally, for the amount
   13               of the United States’ damages, trebled as required by law, and such
   14               civil penalties as are required by law, together with all such further
   15               relief as may be just and proper;
   16        2.     An award to Relator of a percentage of the proceeds of the action in
   17               accordance with 31 U.S.C. § 3730(d);
   18        3.     An award to Relator of his costs and reasonable attorneys’ fees for
   19               prosecuting this action; and
   20        4.     All other relief as may be required or authorized by law and in the
   21               interests of justice.
   22                                  Demand for Jury Trial
   23        Relator, on behalf of himself and the United States, demands a jury trial on all
   24 claims alleged herein.
   25
   26
   27
   28
                                                   -18-
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    1 Dated: May 4, 2022                     Respectfully submitted,
    2                                        Relator Chi Kwan Chan
    3
    4                                  By:   /s/ Gregg Shapiro
                                             Gregg Shapiro
    5                                        Newman & Shapiro
                                             Attorney for Relator
    6
    7                                 Certificate of Service
    8       I, Gregg Shapiro, certify that copies of this First Amended False Claims Act
        Amended Complaint were served on May 4, 2022, as follows:
    9
              Via U.S. Mail and e-mail to counsel for RGE Motor Direct, Inc., Erik D.
   10         Smithweiss, Esq., Grunfeld, Desiderio, Lebowitz, Silverman & Klestadt LLP,
              707 Wilshire Blvd, Ste. 4150, Los Angeles, CA 90017-3605,
   11         ESmithweiss@GDLSK.com; and
   12         Via U.S. Mail to Phoenix Tools, Inc., 19223 Colima Road, #8, Rowland
              Heights, California 91748.
   13
   14                                        /s/ Gregg Shapiro
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